
977 So.2d 916 (2008)
Odis R. DARDEN, III, Vickie Marlene Darden and State Farm Fire and Casualty Company
v.
LENNOX INDUSTRIES, INC. and Dumas Heating &amp; Air Conditioning, Inc.
No. 2008-CC-0091.
Supreme Court of Louisiana.
March 7, 2008.
In re Lennox Industries Inc. et al.;  Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Caldwell, 37th Judicial District Court Div. O, No. 24532; to the Court of Appeal, Second Circuit, No(s). 43154-CW, 43158-CW.
Denied.
